               INSTITUTE FOR CONSTITUTIONAL ADVOCACY AND PROTECTION
                         GEORGETOWN UNIVERSITY LAW CENTER

July 9, 2024

VIA CM/ECF

Molly C. Dwyer, Clerk of Court
U.S. Court of Appeals for the Ninth Circuit
The James R. Browning Courthouse
95 7th Street
San Francisco, CA 94103

Re: Jason Wolford, et al v. Anne Lopez, Case No. 23-16164


Dear Ms. Dwyer:

       The State submits this response regarding Antonyuk v. James, No. 23-910,
2024 WL 3259671 (U.S. July 2, 2024), which vacated the Second Circuit’s decision
in Antonyuk v. Chiumento, 89 F.4th 271 (2d Cir. 2023), and remanded for further
consideration in light of United States v. Rahimi, No. 22-915, 2024 WL 3074728
(U.S. June 21, 2024). Although Plaintiffs are correct that Antonyuk is no longer
binding precedent in the Second Circuit, they are mistaken that Antonyuk “should
no longer be considered persuasive authority by this Court.” Dkt. 91-1. To the
contrary, Rahimi supports those aspects of Antonyuk that are most helpful to the
State.

       As the State has previously explained, see Dkt. 68, Antonyuk correctly
applied Bruen in several respects. Antonyuk held, for example, that: historical
traditions should be defined at a reasonable level of generality, e.g., 89 F.4th at 341,
356; historical analogues need not cover particular population percentages, id. at
321; historical silence does not imply unconstitutionality, id. at 301; and post-
enactment laws can be relevant to the Bruen analysis, id. at 319 n.32. Rahimi
confirms Antonyuk’s reasoning on each of these points. See, e.g., 2024 WL 3074728,
at *5-6 (emphasizing that courts must look to “the principles that underpin our
regulatory tradition,” and defining the relevant tradition broadly as “preventing
individuals who threaten physical harm to others from misusing firearms”
(emphasis added)); id. at *8 (citing a single Founding Era law to support the
relevant tradition, with no discussion of population percentages); id. at *30 (Barrett,
J., concurring) (rejecting premise that “founding-era legislatures maximally
exercised their power to regulate, thereby adopting a ‘use it or lose it’ view of
legislative authority”); id. at *22-23 (Kavanaugh, J., concurring) (emphasizing
importance of post-ratification history).
                                                                                      2



       To the extent Rahimi cast doubt on Antonyuk, it did so only with respect to
the Second Circuit’s decision to affirm the district court’s injunction against New
York’s private-property default rule. See 89 F.4th at 386. In any event, that
decision was tied to the record in Antonyuk, which is distinguishable from the
record in this case. See Dkt. 68.

                                              Very truly yours,

                                              /s/ Ben Gifford
                                              Ben Gifford
                                                Special Deputy Attorney General
                                              Institute for Constitutional
                                                Advocacy & Protection
                                              Georgetown University Law Center
                                              PO Box 211178
                                              Brooklyn, NY 11221
                                              Tel: 202-662-9835
                                              bg720@georgetown.edu

                                              Attorney for Defendant Anne E. Lopez,
                                              in her official capacity as the
                                              Attorney General of the State of
                                              Hawai‘i


Cc: Counsel of record (via CM/ECF)
